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                   IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII

   GAIL GARIN, ET AL.,                          CIV. NO. 21-00104 DKW-WRP

                      Plaintiffs,               ORDER SETTING SETTLEMENT
                                                CONFERENCE
         vs.

   ALINS SUMANG, ET AL.

                      Defendants.


               ORDER SETTING SETTLEMENT CONFERENCE

               Pursuant to LR 16.5(b), all parties to this matter are ORDERED TO

  APPEAR for a confidential settlement conference, on June 15, 2022 at 12:00 p.m.

               In addition to the lead counsel, each party or a designated

  representative with final settlement authority 1 must attend the settlement

  conference. The order for parties’ appearance is intended to increase the efficiency

  and effectiveness of the settlement conference by reducing the time for


               1
                  “Final settlement authority” means that the representative at the
  settlement conference must be authorized to explore settlement options fully and to
  agree at that time to any settlement terms acceptable to the parties. See Heileman
  Brewing Co. v. Joseph Oat Corp., 871 F.2d 648, 653 (7th Cir. 1989). The person
  should have “unfettered discretion and authority” to change the settlement position
  of a party. See Pitman v. Brinker Int’l, Inc., 216 F.R.D. 481, 485-86 (D. Ariz.
  2003). The purpose of requiring a person with unlimited settlement authority to
  attend the conference contemplates that the person’s view of the case may be
  altered during the face-to-face conference. Id. at 486. A limited or sum certain
  authority is not adequate. See Nick v. Morgan’s Foods, Inc., 279 F.3d 590, 595-97
  (8th Cir. 2001).
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  communication of offers and expanding the ability to explore options for

  settlement. If a defendant is insured, an adjuster or other representative of that

  defendant’s insurer with final settlement authority also must attend the settlement

  conference.2

               The purpose of the settlement conference is to facilitate settlement of

  this case, if appropriate. It will be conducted in such a manner as not to prejudice

  any party in the event settlement is not reached. To that end, all matters

  communicated to the Court in confidence will be kept confidential, and will not be

  disclosed to any other party, or to the trial judge.

               Settlement conferences are too often unproductive because the parties

  have not made a serious effort to settle the case on their own prior to the

  conference. Accordingly, before the settlement conference, the parties are ordered

  to make a good faith effort to settle the case without the involvement of the Court.

  A good faith effort to settle includes exchanged demands and offers, as well as

  specific proposals and counter proposals with respect to the terms of settlement. If

  settlement is not achieved prior to the conference, the parties shall be prepared to



               2
                  Any request for a party or party representative to be excused from
  attendance must be made by letter to the Court copied to all counsel. In
  considering whether to grant such a request, the Court will consider the parties'
  settlement efforts to date and the logistics of requiring attendance. The Court is
  more likely to grant requests to be excused from attendance for early settlement
  conferences and in situations where the parties have demonstrated serious efforts to
  settle prior to the conference.
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  engage in further negotiation at the conference.

                Each party shall deliver to the Court a confidential settlement

  conference statement no later than June 8, 2022. Unless otherwise ordered, the

  confidential settlement conference statement must be emailed to the Court at

  porter_orders@hid.uscourts.gov. The confidential settlement conference statement

  shall outline, at the very least, (i) a brief description of the case, (ii) impactful legal

  issues and factual disputes, (iii) the extent of discovery and motions practice yet to

  be conducted, and (iv) a status of the settlement negotiations to date.

                At the settlement conference, we will first meet with all parties

  together and thereafter we will separate into confidential caucuses. The

  presentations and discussion at the settlement conference, particularly while all

  parties are together, shall aim only to foster settlement. That is, the settlement

  conference is not intended for advocating a legal or factual position in the

  litigation, conducting discovery, nor resolving other disputes between parties.

                IT IS SO ORDERED.

                DATED AT HONOLULU, HAWAII, SEPTEMBER 21, 2021.




                                        \Ves Reber Porter
                                        United States Magistrate Judge
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